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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
              v.                                   )      09 CR 673
                                                   )
RON COLLINS, aka “Ron Ron”                         )      Judge Virginia Kendall

                   GOVERNMENT’S COMBINED RESPONSE TO
                     DEFENDANT’S PRETRIAL MOTIONS

       The United States of America, through its attorney, Patrick J. Fitzgerald, respectfully

responds to defendant Ron Collins’s Motions as follows:

I.     Defendant’s Motions to Compel Disclosure of Existence and Substance of
       Promises of Immunity, Leniency or Preferential Treatment and Exculpatory
       Evidence, and Early Disclosure of all Jencks Material (Dkt. Nos. 68 and 69)

       Defendant COLLINS requests that this Court direct the government to turn over

various materials pursuant to Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v. United

States, 405 U.S. 150 (1972).       In a September 4, 200, letter to defense counsel, the

government acknowledged its ongoing duty to disclose evidence favorable to COLLINS in

this case pursuant to the trial rights of Brady and stated that the government will produce any

such evidence promptly should it come into the government’s possession. Courts have held

that this acknowledgment alone is a sufficient basis upon which to deny COLLINS’s motion.

See United States v. Sims, 808 F. Supp. 607, 614 (N.D. Ill. 1992) (motion to produce Brady

material denied as moot in light of government’s acknowledgment of awareness of its Brady

obligations). At this time, the government is not aware of any evidence, which would fall

within the purview of Brady.
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         The government also acknowledges its duty to produce Giglio materials to COLLINS

in this case.1 The government will honor its obligation under Giglio to provide COLLINS

with any documents reflecting any agreement it has with witnesses at COLLINS’s trial or any

evidence bearing on any witness’s credibility, including any promises of immunity, leniency,

or preferential treatment, by producing this evidence within a reasonable time period so as

not to prevent COLLINS from receiving a fair trial. See Kompare v. Stein, 801 F.2d 883, 890

(7th Cir. 1986). The district courts in this circuit “have repeatedly held that where the

government has made assurances it will comply with Brady and Giglio, those assurances are

sufficient.” United States v. Hoover, No. 95 CR 508, 1997 WL 80947, at *1 (N.D. Ill. Feb.

20, 1997) (internal quotations and citations omitted); see United States v. Silesia Flavorings,

Inc., No. 03 CR 851, 2004 WL 419904, at *6 (N.D. Ill. Mar. 1, 2004).2 With regard to both

COLLINS’s request for Brady and Giglio materials, the motion should be denied.




   1
    The government need not produce Giglio material until trial as long as COLLINS is not
prevented from receiving a fair trial. See Kompare v. Stein, 801 F.2d 883, 890 (7th Cir. 1986);
United States v. Marquez, 686 F. Supp. 1354, 1357-58 (N.D. Ill. 1988). Giglio information
requires little or no warning to be used effectively, and therefore need not be produced far in
advance. See United States v. Rinn, 586 F.2d 113, 119 (9th Cir. 1978). To require otherwise
would have the effect of giving COLLINS advance disclosure of the government’s witness list, to
which she is not entitled. See United States v. Callahan, 534 F.2d 763, 765 (7th Cir. 1976).
   2
     The government’s acknowledgment of its obligations under Brady and Giglio should not be
interpreted as a stipulation to provide COLLINS with all of the materials requested in his motion.
Rather, the government will abide by the law in this Circuit and will provide COLLINS with all
materials to which he is entitled.

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            COLLINS also has moved for the pre-trial production of materials subject to the

Jencks Act, 18 U.S.C. § 3500 not less than ten days prior to trial.3 Despite the absence of any

requirement in law that it do so, the government has already agreed in its September 4, 2009,

letter to defense counsel to produce Jencks Act and Giglio materials one week in advance of

trial. The government is willingly to provide Jencks Act material that it has in its possession

at the time to COLLINS ten days prior to trial. Accordingly, COLLINS’s motion should be

denied as moot.4

II.         Defendant’s Motion for Reports of Scientific Experiments (Dkt. No. 70)

            COLLINS seeks the results of various tests for controlled substances, fingerprints, and

handwriting and any experts’s reports on the same. COLLINS’s motion should be denied.

            In the government’s September 4, 2009, letter to defense counsel, the government

proposed disclosure of a written summary of testimony it intends to use under Federal Rules


      3
            The Jencks Act expressly provides:

            In any criminal prosecution brought by the United States, no statement or report in the
            possession of the United States which was made by a Government witness or prospective
            Government witness (other than the COLLINS) shall be the subject of subpoena,
            discovery, or inspection until said witness has testified on direct examination in the case.

18 U.S.C. § 3500(a). In accordance with the unequivocal language of the statute, courts of this
District have consistently recognized an absence of authority to compel pretrial disclosure of
Jencks Act material. See United States v. Feinberg, 502 F.2d 1180, 1182-83 (7th Cir. 1974);
Myrick, 1997 WL 564673 at *2 (“District courts have no authority to compel pretrial disclosure
of Jencks Act material.”); Balogun, 971 F. Supp. at 1233 (finding government offer to provide
Jencks Act materials three weeks prior to trial to be “quite reasonable, particularly since it
exceeds the requirements of the Jencks Act”); Sims, 808 F. Supp. at 616.
      4
      The government similarly requests that COLLINS provide reciprocal discovery in advance
of trial pursuant to Rule 26.2(a).

                                                     3
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of Evidence 702, 703, and 705 in accordance with Rule 16(a)(1)(E) two weeks prior to trial.

This two-week notice provides COLLINS with sufficient time to prepare for trial. Moreover,

the government will, of course, comply with the Jencks Act and provide statements of its

“expert” witnesses in accordance with 18 U.S.C. § 3500, Fed. R. Crim. P. 16(a)(2), and the

orders of this Court.5

         To the extent that the defendant is seeking for the government to fulfill its obligations

under Rule 16 and Local Rule 16.1, the government has acknowledged and has already

produced or made available for inspection all Rule 16 materials, which are currently in its

possession and control, including the examination of controlled substances. When any

additional tests or examinations are completed, the government will fulfill its obligation to

turn over this material in accordance with the requirements of Rule 16(a)(1)(F).

III.     Defendant’s Motion for Non-Electronic Surveillance Information (Dkt. No. 71)

         COLLINS seeks notice or information from the government as to whether there has

been any non-electronic surveillance of COLLINS and any reports related to such non-

electronic surveillance. This Court should deny the motion as moot and on its merits.

         COLLINS relies on Brady and Giglio for his request.              As stated above, the

government has acknowledged its obligations under Brady and Giglio and will fulfill its

obligations under the law. To the extent that the defendant is seeking for the government to

fulfill its obligations under Rule 16 and Local Rule 16.1, the government has acknowledged and has

   5
    The government requests that the defendants provide reciprocal discovery in advance of trial
pursuant to Fed. R. Crim. P. 16(b) and 26.2(a).

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already produced or made available for inspection Rule 16 materials which are currently in its

possession and control.

IV.     Defendant’s Motion for Government to Give Immediate Notice of Its Intention
        to Use Evidence of Other Crimes (Dkt. No. 72)

        COLLINS requests that the Court order the government to disclose any evidence of

other crimes, acts, or wrongs of COLLINS that it intends to use. COLLINS’s request should

be denied as moot.

        In its September 4, 2009, letter to defense counsel, the government acknowledged its

obligation to give notice under Rule 404(b) and stated that the government would give such

notice no later than 2 weeks prior to trial. Rule 404(b) provides that the government should

provide reasonable notice of its intent to use such evidence in advance of trial. The

government’s proposed two-week time period is reasonable notice.

        To the extent that COLLINS’s is requesting notice of evidence that the government

may use for purposes of impeachment or rebuttal, COLLINS motion should be denied.

Federal Rule of Criminal Procedure 12(b)(4) limits COLLINS’s right to request pretrial

notice of the government’s intent to use evidence that the government will offer in its

case-in-chief. See also United States v. Baskes, 649 F.2d 471, 477 (7th Cir. 1980) (“No rule

or rationale guarantees the defense advance knowledge of legitimate impeachment before it

calls a witness.”). Likewise, Federal Rule of Evidence 608(b), which addresses the use of

prior instances of conduct for impeachment purposes on cross examination, does not require

advance notice by the government and courts have repeatedly refused to read a pretrial notice


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requirement into Rule 608(b). See United States v. Stoecker, 920 F.Supp. 876, 883 (N.D. Ill.

1996) (“The court finds that a notice requirement should not be read into the rule and

consequently holds that Rule 608(b) evidence need not be disclosed in advance of trial.”);

United States v. Schoeneman, 893 F.Supp. 820, 823 (N.D. Ill. 1995) (“Unlike Rule 404(b),

Rule 609 does not contain any notice provision, and the government argues that one should

not be read into the rule. The court agrees that Rule 608(b) evidence need not be disclosed

in advance of trial.”); United States v. Alex, 791 F.Supp. 723, 728-29 (N.D. Ill. 1992) (“We

disagree with [the defendant’s] assertion that the amendment to Rule 404(b) may be read to

require the government to give notice of “specific instances of conduct” evidence under Rule

608(b) it intends to offer for impeachment purposes.”). In sum, COLLINS is not entitled to

notice of evidence that the government may use for purposes of impeachment or in rebuttal

and her motion should be denied to the extent that he requests such disclosure. The

remainder of the motion should be denied as moot, because the government set out a

reasonable time frame for disclosure of Rule 404(b) evidence.

V.     Defendant’s Motion for Production of Informants (Dkt. No. 73)

       COLLINS has moved for an order requiring the government to identify an informant

utilized in the investigation of this case, namely an individual identified as Confidential

Source 1. COLLINS’s motion should be denied.

       The government has acknowledged its obligations under Rovario v. United States, 353

U.S. 53 (1957) and Giglio to identify any cooperating informants that will testify as witnesses



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for the government in its case-in-chief and to provide requisite impeaching information

regarding such witnesses. With regard to cooperating individuals who will testify as

witnesses at trial, the government will formally provide COLLINS’s counsel with the identity

of, and general impeachment information pertaining to, such witnesses at the time the

government makes its other Jencks Act and Giglio disclosures no later than one week prior

to trial in this case for Giglio disclosures and 10 days prior to trial for Jencks Act disclosures.

In this regard, to the extent COLLINS’s motions are construed as restricted to information

pertaining to testifying informants, the motions should be denied as moot.

       To the extent, however, that COLLINS seeks disclosure of information pertaining to

non-testifying informants, namely Confidential Source 1, COLLINS’s motion should be

denied in accordance with the “confidential informant privilege.” The well-established

confidential informant privilege prohibits disclosure of the identity of a non-testifying

informant or any information which would reveal the identity of the informant. See Rovario,

353 U.S. 53; see also United States v. Valles, 41 F.3d 355, 358 (7th Cir. 1994). The purpose

of this privilege is to further and protect the public interest in efficient law enforcement by

encouraging responsible citizens to cooperate with government officials. Dole v. Local 1942,

Intern. Broth. of Elec. Workers, AFL-CIO, 870 F.2d 368, 372 (7th Cir. 1989).

       In order to overcome the privilege, a defendant must “establish a genuine need for

disclosure before disclosure should be ordered.” United States v. Andrus, 775 F.2d 825, 842

(7th Cir. 1985); United States v. Tucker, 552 F.2d 202, 209 (7th Cir. 1977) (same); see also



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Valles, 41 F.3d at 358 (7th Cir. 1994) (defendant bears burden in face of an assumption that

the privilege should apply); United States v. Spears, 965 F.2d 262, 273 (7th Cir. 1992)

(burden is on the defendant to establish that informant is a material witness or crucial to the

defense). A defendant overcomes the privilege only by showing that the identification of the

informant is essential “to a balanced measure of the issues and the fair administration of

justice.” Dole, 870 F.2d at 372. In Roviaro, the Supreme Court found that to determine

whether the government must disclose the identity of an informant, the court must balance

the defendant's need for disclosure to ensure a fair trial with the public’s interest in

preserving the informant’s anonymity and encouraging citizens to report crimes. Roviaro,

353 U.S. at 62; see also United States v. Jefferson, 252 F.3d 937, 940-42 (7th Cir. 2001). A

defendant may satisfy his burden by establishing that the informant is a material witness, see

Roviaro, 353 U.S. at 64-65 (disclosure is required where the defendant and the informant

were the sole participants in the criminal transaction and the informant was the only witness

in a position to amplify or contradict the testimony of the government witness), or that the

informant’s testimony is crucial to the defense. See United States v. Bender, 5 F.3d 267, 270

(7th Cir. 1993). The confidential informant privilege “will not yield to permit a mere fishing

expedition, nor upon the bare speculation that the information may prove useful.” Dole, 870

F.2d at 373.

       “The underlying concern of this doctrine is the common sense notion that individuals

who offer their assistance to a government investigation may later be targeted for reprisal



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from those upset by the investigation.” United States v. Herrero, 893 F.2d 1512, 1525 (7th

Cir. 1990) (affirming district court's refusal to disclose identity of informant at detention

hearing); Andrus, 775 F.2d at 842 (affirming refusal to disclose identity of informant at trial).

When asserting the privilege the government is not required to show an actual threat in the

particular case. Valles, 41 F.3d at 358. Instead, “the government is granted the privilege as

a right.” Id.; see also Dole, 870 F.2d at 372.

       Accordingly, a defendant must “establish a genuine need for disclosure,” something

beyond the bald assertion of the right to confront or cross-examine. Andrus, 775 F.2d at 842;

see also United States v. Bender, 5 F.3d 267, 271 (7th Cir. 1993); United States v. Spears,

965 F.2d 262, 273 (7th Cir. 1992). When an informant is a mere “tipster” rather than a

participant or eye witness to the event in question, disclosure is not required. Andrus, 775

F.2d at 842; see also Jefferson, 252 F.3d at 942; Bender, 5 F.3d at 270.

       In Bender, for example, the Seventh Circuit affirmed the district court’s determination

that a defendant was not entitled to discover the identity of a confidential informant who

provided information for a search warrant. Bender, 5 F.3d at 269-71. Within two days of

the informant’s last crack cocaine purchase at the premises to be searched, police officers

secured a warrant to search those premises based upon the informant’s information regarding

narcotics purchases at that location. Id. at 268. During that search, the police found the

defendant with his arm down a sewer drain pipe; the police also retrieved from that pipe a

plastic baggie containing an ounce of crack cocaine. Id. In affirming the district court’s



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ruling to uphold the informant’s confidentiality, the Seventh Circuit held that the informant

need not be disclosed because the informant was not an active participant in the investigation

leading to the defendant’s arrest and because the criminal activity witnessed by the informant

was not part of the charges brought against the defendant. Id. at 270.

       Relying on Bender, the Seventh Circuit again upheld the confidential informant

privilege in Jefferson, a case that involved an informant who provided statements regarding

narcotics purchases from a drug house, which statements were used to support a search

warrant for that house. Jefferson, 252 F.3d at 939. The Jefferson court held that the

informant’s identity did not need to be disclosed, even though the informant was present at

the scene of the search just minutes before the warrant was executed, because the informant

was not a participant in the activity with which defendant was charged:

       . . . [T]he charges against [defendant] were based on evidence which was
       obtained when the search warrant was executed and statements made by
       [defendant] and [co-defendant] at the time of their arrests, not on any criminal
       activity the confidential informant had witnessed. The confidential informant
       was a mere “tipster,” who provided law enforcement officials with information
       which led to the acquisition of the search warrant. Although the informant had
       been present at the residence shortly before the warrant was executed, his role
       ended at the conclusion of the third drug buy, and he was not present when the
       warrant was executed and the search was conducted or when the post-arrest
       statements were made.

Id. at 941-42.

       COLLINS has not set forth any specific need for the identity of Confidential Source

1. Accordingly, COLLINS’s claims fall well short of establishing the “credible need for the

information” required to cause the privilege to give way. Herrero, 893 F.2d at 1525; see also

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Myrick, 1997 WL 564673 at *5 (rejecting “boiler-plate assertion” that disclosure of

informants necessary “‘to determine whether or not he or they should be called as defense

witnesses’” and holding: “We will not revoke the privilege for the remaining informants, if

any, on the basis of bare speculation that the information may prove useful to the defense.");

Balogun, 971 F. Supp. at 1242 (denying motion for disclosure of informants and noting that

“[d]efendants have failed to provide any particularized reasons to overcome the qualified

informer's privilege”).

       If any of the confidential informants in the present case testify at trial, then their

identities and other information concerning their testimony will be disclosed in accordance

with all applicable rules. Defendant’s motion to disclose their identities at this time should

be denied.




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                                    Conclusion

       The government requests defendant’s motions (Docket Numbers 68-73)) be denied

for the reasons stated above.




                                              Respectfully submitted.
                                              PATRICK J. FITZGERALD
                                              United States Attorney


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                             CERTIFICATE OF SERVICE

       Halley B. Guren, an Assistant United States Attorney assigned to the instant matter,

hereby certifies that the attached GOVERNMENT’S COMBINED RESPONSE TO

DEFENDANT COLLINS’S PRETRIAL MOTIONS was served on June 22, 2010, in

accordance with F ED. R. C RIM. P. 49, F ED. R. C IV. P. 5, LR 5.5, and the General Order on

Electronic Case Filing (ECF) pursuant to the district court’s system as to ECF filers.


                                                 /s/ Halley B. Guren
                                                 HALLEY B. GUREN
                                                 Assistant United States Attorney
